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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,                  Case No. 8:22CR-00222
                Plaintiff,

       v.                               MOTION TO FILE UNDER SEAL

 MARK BERNAL,
                     Defendant.

       COMES NOW, Defendant, Mark Bernal, by and through legal counsel and
hereby respectfully requests this Honorable Court allow him to file Defendant’s
Sentencing Memorandum, Index of Exhibits, all Exhibits, Motion for Downward Variance
and Brief in Support of Motion for Downward Variance under seal, as they contain
confidential information that should not be released to the public. Counsel for Defendant
shall provide via email copies of the aforementioned, sealed documents, directly to
AUSA Christopher Ferretti for sentencing hearing purposes.

      Dated this July 20, 2023
                                     Respectfully submitted,
                                     Mark Bernal, Defendant

                                     /s/ Mallory N. Hughes
                                     Mallory N. Hughes #24610
                                     BERRY LAW FIRM
                                     1414 Harney Street, Suite 400
                                     Omaha, NE 68102
                                     (402) 466-8444
                                     Mallory.hughes@berrylawfirm.com
                                     Attorney for Defendant




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                             CERTIFICATE OF SERVICE

       The undersigned certifies that she caused a true and correct copy of the above
and foregoing to be served upon the Plaintiff herein by electronic email service of the
same to the on July 20, 2023.


                                         /s/ Mallory N. Hughes
                                         Mallory N. Hughes # 24610




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